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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Loren Sheldon,                                  No. CV-19-00417-TUC-JCH
10                  Plaintiff,                        ORDER
11    v.
12    Kenneth P Fletcher, et al.,
13                  Defendants.
14
15          Before the Court are Plaintiff's "Motion for Order Unsealing Order Doc. 144," Doc.
16   146, which Defendants oppose, Doc. 148, and Defendants' unopposed "First Motion for

17   Extension of Time." See Docs. 151, 152.
18   I.     Plaintiff's Motion for Order Unsealing Order Doc. 144

19          On July 28, 2023, the Court issued an Order Under Seal addressing a discovery

20   disputed based in part on confidential informant privilege. See Doc. 144. Plaintiff now
21   seeks to unseal the Court's Order because "the number of reported decisions addressing
22   this issue in any depth are few[, and … the] Court's reasoning in deciding the matter was

23   detailed and would … provide other courts with exemplary guidance in resolving the same

24   privilege claim." Doc. 146 at 1–2. Defendants object that unsealing the "order would

25   undermine [the] Court's careful balance ["between allowing Plaintiff to pursue discovery

26   … and minimizing the wider distribution of information related to [REDACTED]'s
27   involvement"]. See Doc. 148 at 3.
28          The Court agrees with Defendants. Plaintiff's kind characterization of the Court's
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 1   Order notwithstanding, the Court filed under seal for several reasons. Keeping the Court's
 2   Order sealed is the simplest way to preserve those reasons. The Court will therefore deny
 3   Plaintiff's Motion.
 4   II.    Defendants' First Motion for Time Extension
 5          Defendants seek a four-day extension of time to comply with the Court's July 28
 6   Order. Doc. 151. Plaintiff does not oppose Defendant's request. See Doc. 152. Good cause
 7   appearing, the Court will grant Defendants' Motion.
 8   III.   Order
 9          Accordingly,
10          IT IS ORDERED DENYING Plaintiff's Motion to Unseal (Doc. 146).
11          IT IS FURTHER ORDERED GRANTING Defendants' Motion for Time
12   Extension (Doc. 151). Defendants shall comply with the Court's July 28 Order, Doc. 144,
13   no later than September 1, 2023.
14          Dated this 11th day of September, 2023.
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